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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 GERALD LYNN BOSTOCK,
              Plaintiff(s),
                                                   CIVIL ACTION FILE
 vs.
                                                    NO. 1:16-cv-01460-ELR-WEJ
 CLAYTON COUNTY,
              Defendant(s).



                                        ORDER


       The mandate of the United States Court of Appeals having been read and
considered, it is


       Ordered and Adjudged that the mandate of the United States Court of Appeals
be and it hereby is made the judgment of this Court.


       Dated at Atlanta, Georgia this 7th day of October, 2020.




                                             UNITED STATES DISTRICT JUDGE
